Case 1:17-cr-00201-SEB-MJD Document 16 Filed 09/18/20 Page 1 of 1 PageID #: 202




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                               )
                                                         )
                                Plaintiff,               )
                                                         )
                           v.                            )        No. 1:17-cr-00201-SEB-MJD
                                                         )
 DAVID F. MAYS,                                          ) -01
                                                         )
                                Defendant.               )


                 ORDER ADOPTING REPORT AND RECOMMENDATION

         Having reviewed Magistrate Judge Doris L. Pryor’s Report and Recommendation that

 David May’s supervised release be modified pursuant to Title 18, U.S.C. §3401(i) and Rule

 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and orders a

 modification of supervised release to include residing at a Residential Reentry Center for a period

 four (4) months, alcohol monitoring, i.e. Soberlink for a period of up to four (4) months, defendant is

 not use or possess alcohol, as well as all the other conditions outlined in the Magistrate Judge's

 Report and Recommendation.

         SO ORDERED.

                   9/18/2020
         Date: ______________________                      _______________________________
                                                            SARAH EVANS BARKER, JUDGE
                                                            United States District Court
                                                            Southern District of Indiana

 Distribution:

 All ECF-registered counsel of record via email generated by the court’s ECF system

 United States Probation Office

 United States Marshal Service
